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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

                                               )
AMETHYST WHITE                                 )
                                               )
               Plaintiff,                      )
                                               )
       vs.                                     )
                                               ) CIVIL ACTION NO. 3:20-CV-1691
THE AMERICAN NATIONAL RED                      )
CROSS,                                         )
                                               )
               Defendant.                      )
                                               )
                                               )
                                               )
                                               )


                             NOTICE OF REMOVAL PURSUANT
                               TO 28 U.S.C. §§ 1441 and 1446

       The American National Red Cross (“Red Cross”) hereby files, pursuant to 28 U.S.C. §§ 1441

and 1446, this Notice of Removal of a certain action pending in the Connecticut Superior Court and

in support thereof states as follows:


       1.      The Red Cross is the defendant in an action entitled Amethyst White v. American

National Red Cross, American Red Cross and American Red Cross of Connecticut, Docket No.

MMX-CV20-6029561S, which is pending in the State of Connecticut, Judicial District of Middlesex

at Middletown (the “State Court Action”).

       2.      On or about October 14, 2020, plaintiff served on the Red Cross a Civil Summons

and Complaint. No prior papers were served on the Red Cross in the State Court Action.

       3.      In accordance with 28 U.S.C. § 1446(a), and to the best of the Red Cross’s

knowledge, the papers attached hereto as Exhibit A are all of the process, pleadings, and orders

served to date upon the defendant in the State Court Action.
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       4.      Federal subject matter jurisdiction exists in this action by virtue of 36 U.S.C. §

300105, a provision of the Red Cross’s federal charter that grants it the power to “sue and be sued in

courts of law and equity, State or Federal, within the jurisdiction of the United States.”

       5.      The United States Supreme Court has held that the Red Cross’s charter creates

original federal jurisdiction over suits involving the Red Cross and that therefore the Red Cross is

entitled to remove to federal court all state court actions it is defending. American National Red

Cross v. S.G., 505 U.S. 247 (1992).

       6.      The Red Cross desires to remove the State Court Action to this Court and submits this

Notice, along with the attached Exhibits, in accordance with 28 U.S.C. §§ 1441 and 1446.

       7.      This Notice is being filed within 30 days after service on the Red Cross of a copy of

the Complaint in the State Court Action and is, therefore, timely filed pursuant to 28 U.S.C. §

1446(b).

       8.      Written notice of the filing of this Notice of Removal will be given to all parties and,

together with a copy of the Notice of Removal and supporting papers, will be filed with the Clerk of

the State of Connecticut, Judicial District of Middlesex at Middletown as provided by 28 U.S.C. §

1446(d). See Certificate of Compliance with 28 U.S.C. § 1146(d) (attached as Exhibit B).
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       WHEREFORE, the Red Cross prays that the State Court Action be removed to this Court.

       Dated this 11th day of November, 2020.


                                               Respectfully submitted,


                                               _/s/ Vimala B. Ruszkowski
                                               Vimala B. Ruszkowski, Esq., ct28324
                                               Stockman, O’Connor, Connors, PLLC
                                               10 Middle St., 11th Floor
                                               Bridgeport, CT 06604
                                               Phone: (203) 598-7585
                                               Fax: (203) 577-5180
                                               Email: vruskzowski@stockmanoconnor.com
                                               Counsel for Defendant
                                               American National Red Cross


                                 CERTIFICATE OF SERVICE

        I hereby certify that on November  ____,
                                             11 2020, a copy of the foregoing Notice was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by email to all parties by operation of the Court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.

Nancy S. Hunter, Esq.
Hunter Law, LLC
332B Main Street
Cromwell, CT 06416
Phone: (860) 398-4357
Fax: (860) 398-4358
Email: nhunter@hunterlawct.com


                                               /s/ Vimala B. Ruszkowski
                                               Commissioner of the Superior Court
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                       EXHIBIT A
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                        EXHIBIT B
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

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AMETHYST WHITE                                 )
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               Plaintiff,                      )
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       vs.                                     )
                                               )   CIVIL ACTION NO. 3:20-CV-1691
THE AMERICAN NATIONAL RED                      )
CROSS,                                         )
                                               )
               Defendant.                      )
                                               )
                                               )
                                               )
                                               )

                              CERTIFICATE OF COMPLIANCE
                                 WITH 28 U.S.C. § 1446(d)

       The American National Red Cross (“Red Cross”), by its counsel, hereby certifies that it

has given written notice of the filing of its Notice of Removal to all parties in the above-

captioned action and that it has filed a copy of the Notice of Removal with the Clerk of the State

of Connecticut, Judicial District of Middletown.

Dated this 11th day of November, 2020.

                                       Respectfully submitted,


                                       _/s/ Vimala B. Ruszkowski
                                       Vimala B. Ruszkowski, Esq., ct28324
                                       Stockman, O’Connor, Connors, PLLC
                                       10 Middle St., 11th Floor
                                       Bridgeport, CT 06604
                                       Phone: (203) 598-7585
                                       Fax: (203) 577-5180
                                       Email: vruskzowski@stockmanoconnor.com
                                       Counsel for Defendant
                                       American National Red Cross
